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                       IN THE UNITED STATES DISTRICT COURT
                        FOR THE WESTERN DISTRICT OF TEXAS
                               SAN ANTONIO DIVISION


HENRIETTE BEAUVIL,                               §   CIVIL ACTION NO. ________________
                                                 §
         Plaintiff,                              §
                                                 §
v.                                               §
                                                 §
                                                 §
                                                 §
WAYDAN ENTERPRISES, INC., d/b/a                  §
THE BANDERA ROAD GARDEN                          §
CENTER and d/b/a THE GARDEN                      §
CENTER, and GERALD WAYNE                         §
HARRELL, JR.                                     §
                                                 §
         Defendants.                             §   DEMAND FOR JURY TRIAL


                          PLAINTIFF’S ORIGINAL COMPLAINT


         This is an action for unpaid wages brought under the Fair Labor Standards Act

(hereinafter “FLSA”) 29 U.S.C. § 201 et seq. This action is brought by a worker employed by

Defendants at a retail nursery and landscaping company called The Garden Center, located in

Bexar County, Texas. Since 2004, Defendants failed to adequately pay Ms. Beauvil overtime

pay for the hours she worked in excess of forty (40) hours during each work week. Accordingly,

Plaintiff seeks her unpaid overtime wages, liquidated damages, attorney’s fees, and costs of

court.

                                JURISDICTION AND VENUE

         1.     Plaintiff brings this case to recover unpaid compensation under 29 U.S.C. § 201 et

seq. As such, this Court has jurisdiction over the Plaintiff’s FLSA claims pursuant to the

following:



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                 a.      28 U.S.C. §1331 (Federal Question);

                 b.      28 U.S.C. § 1337 (Interstate Commerce);

                 c.      29 U.S.C. § 216(b) (FLSA).

         2.      Inasmuch as Defendants’ principal place of business is in Bexar County, Texas,

and all or a substantial part of the acts or omissions giving rise to Plaintiff’s cause of action

occurred in or around Bexar County, Texas, venue is proper in this District and Division under

28 U.S.C. § 1391(b)(1) and (2) and 29 U.S.C. § 216(b).


                                           THE PARTIES

         3.      Plaintiff HENRIETTE BEAUVIL is an individual residing in Bexar County,

Texas.

         4.      Defendant WAYDAN ENTERPRISES, INC. d/b/a THE BANDERA ROAD

GARDEN CENTER and d/b/a THE GARDEN CENTER (hereinafter referred to as “Waydan

Enterprises”), is a Texas corporation with its principal place of business in San Antonio, Texas

and which may be served with process by serving its registered agent, Gerald Wayne Harrell, Sr.

at 10682 Bandera Road, San Antonio, TX 78250.

         5.      At all relevant times, Plaintiff was an “employee” of Waydan Enterprises within

the meaning of 29 U.S.C. §203(e)(1).

         6.      Waydan Enterprises employed Plaintiff within the meaning of the FLSA, 29

U.S.C. §§ 203(d) and 203(g).

         7.      Facts demonstrating that Waydan Enterprises was Plaintiff’s employer include,

but are not limited to, the following:

              a. Waydan Enterprises possessed the authority to hire and fire Plaintiff;

              b. Plaintiff received extensive instruction from Waydan Enterprises;



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             c. Plaintiff was economically dependent on Waydan Enterprises for the terms and

                conditions of her employment;

             d. Waydan Enterprises possessed and exercised the authority to control the

                employment rules and policies applicable to Plaintiff, including scheduling,

                timekeeping, payroll, and disciplinary practices; and

             e. Waydan Enterprises owned or controlled the premises at which Plaintiff worked.

       8.       Waydan Enterprises is an “enterprise” as defined by 29 U.S.C. §203(r)(1) and is

engaged in commerce or the sale of goods for commerce within the meaning of 29 U.S.C.

§203(s)(1)(A). Waydan Enterprises’ enterprise has, at all times relevant to this action, employed

more than two (2) commercial workers who performed commercial duties, including but not

limited to assisting customers, operating the cash register and handling goods such as seeds, tools

and plants that have been moved in or produced for commerce. The gross annual volume of

Waydan Enterprises’ sales exceeds, and has for all times relevant to this action exceeded,

$500,000.00.

       9.       Defendant GERALD WAYNE HARRELL, JR (hereinafter referred to as

“Harrell”) is a governing member of Waydan Enterprises and was also Plaintiff’s supervisor

during her time working for Waydan Enterprises. He may be served with process at his principal

place of business at 10682 Bandera Road, San Antonio, TX 78250.

       10.      At all relevant times, Plaintiff was an “employee” of Defendant Harrell within the

meaning of 29 U.S.C. §203(e)(1).

       11.      Defendant Harrell employed Plaintiff within the meaning of the FLSA, 29 U.S.C.

§§ 203(d) and 203(g).




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        12.      Facts demonstrating that Defendant Harrell was Plaintiff’s employer include, but

are not limited to, the following:

              a. Defendant Harrell possessed the authority to hire and fire Plaintiff;

              b. Plaintiff received extensive instruction from Defendant Harrell;

              c. Plaintiff was economically dependent on Defendant Harrell for the terms and

                 conditions of her employment;

              d. Defendant Harrell possessed and exercised the authority to control the

                 employment rules and policies applicable to Plaintiff, including scheduling,

                 timekeeping, payroll, and disciplinary practices; and

              e. Defendant Harrell owned or controlled the premises at which Plaintiff worked.

        13.      Plaintiff was engaged in commerce during her employment with Defendants. She

operated the cash register, ordered goods and supplies by computer and telephone from suppliers

outside the State of Texas, and handled and sold goods moved in or produced for commerce such

as seeds, soil, fertilizer, plants, and tools.

                                                 FACTS

        14.      Waydan Enterprises operates a retail nursery and landscaping company which

purchases plants from growers, tends them and resells them to consumers along with various

landscaping and gardening supplies.

        15.      Defendant Harrell is a governing member of Waydan Enterprises and was also

Plaintiff’s supervisor during her time working for Waydan Enterprises.

        16.      At all relevant times, under Defendants’ control and supervision, Plaintiff handled

goods or materials that had been moved in or produced for commerce, including, but not limited

to gardening products and landscaping tools.




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        17.     When she began her employment with Defendants in 2004, Plaintiff worked an

average of 40 hours per week during the school year and an average of 50 hours per week during

the summer. Beginning in 2015, Plaintiff worked an average of 53 hours per week during the

school year and an average of 62 hours per week during the summer.

        18.     At all relevant times, Plaintiff would work according to roughly the same

schedule every day of the week. When she began her employment with Defendants in 2004,

Plaintiff would arrive at work between 8:00 and 8:30 A.M. to help prepare the store to open at

9:00 A.M. Plaintiff would then continue working until 3:00 P.M. Beginning in 2015, Plaintiff

would arrive at work between 8:00 and 8:30 A.M. to help prepare the store to open at 9:00 A.M.

and would then continue working until 5:00 P.M.

        19.     When she began her employment with Defendants in 2004, Plaintiff was initially

paid $9 per hour. Plaintiff received a raise to $14 per hour in 2010 and another raise to $15 per

hour at the beginning of 2019.

        20.     At all relevant times, Defendants knowingly, willfully, or with reckless disregard,

carried out their illegal pattern or practice of failing to pay the overtime compensation due to

Plaintiff.

        21.     Throughout her employment with Defendants, in each work week in which

Plaintiff worked in excess of forty hours, Defendants did not pay Plaintiff one-and-a-half times

her regular hourly rate for all hours she worked after the first forty.

        22.     Instead, regardless of the number of hours Plaintiff worked in a week, Defendants

would either pay her for only forty hours of work or pay her less overtime compensation than she

had earned.




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          23.     For example, during the week of April 1, 2019 Plaintiff worked a total of 62.86

hours: 9.88 hours on April 1, 8.75 hours on April 2, 9.71 hours on April 3, 9.78 hours on April 4,

9.99 hours on April 5, 6.71 hours on April 6 and 8.04 hours on April 7. Plaintiff should have

been paid $15 per hour for her first 40 hours of work and $22.50 per hour for the 22.86 hours of

work after the first 40. Under the FLSA, she should have been paid gross wages of $1,114.35.

Defendants instead only paid her gross wages of $1,050.00.

          24.     Additionally, upon information and belief, Defendants failed to maintain

complete and accurate records of the Plaintiff’s hours of work and compensation as required by

the FLSA.

          25.     All acts and omissions alleged in the paragraphs above were undertaken by the

Defendants either directly or through an agent acting within the scope of their authority.

                                       CLAIM FOR RELIEF

                                          (FLSA Overtime)

          26.     The above-described actions by Defendants willfully violated Plaintiff’s overtime

pay rights under the Fair Labor Standards Act, 29 U.S.C. § 201 et seq., for which she is entitled

to relief pursuant to 29 U.S.C. § 216(b).

                                      PRAYER FOR RELIEF

          WHEREFORE, Plaintiff prays that this Court:

          A.      Award Plaintiff her unpaid overtime compensation and an equal amount of

liquidated damages;

          E.      Award Plaintiff her reasonable attorney’s fees and costs pursuant to 29 U.S.C. §

216(b);

          F.      Award Plaintiff post-judgment interest, as provided by law; and




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      G.     Award Plaintiff such other and further relief as is just and proper.



                                            Respectfully submitted,

                                        By: /s/ Christina Trejo
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